     Case 2:16-cv-06279-AB-JEM Document 19 Filed 01/30/17 Page 1 of 1 Page ID #:91




 1

 2

 3

 4

 5

 6

 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9
     ARMENAK KHUKOYAN,                           ) Case No. 2:16-cv-06279-AB-JEMx
10                                               )
     Plaintiff,                                  ) ORDER
11
                                                 )
12          vs.                                  )
13
                                                 )
     DISCOVER BANK ,                             )
14
                                                 )
15   Defendant.                                  )
                                                 )
16
                                                 )
17                                               )
18

19          IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
20   this matter is dismissed with prejudice as to Defendant Discover Bank, pursuant
21   to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their
22   own costs and attorneys’ fees.
23

24

25      DATED: January 30, 2017
                                            _______________________________
26
                                            The Honorable André Birotte Jr.
27

28




                                        Order to Dismiss - 1
